  

Case 2:03-cr- 266-.]P|\/| Document 64 Filed 05/19/05 Page 1 of 3 Page|D 61
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U.S. DISTRICT JUDGE

Defendant. 7 ““ 1093

 

 

MOTION OF DEFENDANT ALAN WILKINS 'I`O
I’ROCEED IN FORMA PAUPERIS FOR PURPOSES OF APPEAL

 

COM'ES NOW the Det`endant, Alan Wilkins, and in support of the above
Motion, respectiillly states as follows:

l. Through his attomey, James T. Allison, the Defeodant has filed a Notice
of Appeal from the verdict of the jury in the above case. At the trial level the Defendant
retained his attorney, but cannot alford to pay an attorney to handle his appeal
Defendant has been incarcerated since his arrest, and his limiin assisted with his legal
fees

2. Defendant states to the Court that he is no longer able to pay his attorney
to handle his appeal, as the costs of a transcript and asks the Court to declare him indigent
and he be allowed to proceed ln Forma P@geris on appeal.

WHEREF()RE, PREMISES CONSIDERED, DEFENDANT PRAYS:

l. That this Court declare him to be indigent and allow him to proceed l_n

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Respectfuily submitted,

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J _ S T. ALLISON #8483
A rney for Defendant
Alan Wilkins

100 North Main Building, Suite 2309
Memphis, TN 38103
Telephone (901) 528-0020
Fax (901) 526-7114

CERTIFICATE OF SERVICE

I, .lames T. Allison, hereby certify that I have service a copy of the foregoing
Motion upon David Henry, Assistant United States Attorney at his address by hand

delivery this 7»¢£ day of MQ¢? , 2005.

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S 'I`. ALLISON

   

UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:03-CR-20266 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

.l ames T. Allison

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167 N. Main St.

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Honorable .l on McCalla
US DISTRICT COURT

